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EXHIBIT

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RESUME
Barbara Long, M.D., PhD.
3527 Wondhoven Road, Atlanta, GA 30305
Olfice: 404/912-0346: Fua. 404/812-0348

Undergraduate: Yassar College. Poughkeepsie, New York, 4-8. 1972 Honors. Major. Biology.

Graduate: Harvard University, Cambridge, Massachuseris, A.M., 1973; Ph. D.. 1982, (Medical Anthropology). National
Institute for Health Fellowship, 1972-1974, Milton Fund Fellowship far Research, 1973, Travelling Scholar, }980-1982.

Medical School: University af Alabama in Birmmgham.M.D.. 1977, Cuduceus Club Research Fallowship, 1975; Superior
Suholustic Achievement Award, 1977, Buttle S. Searey Award for Achievement in Psychiatry. 1977

Postgraduate Training: Six month Postgraduate Yeor | rotation in Pediatrics, M1. Sinai Hospital, Hartford, Conneencut
July 1977-December 1977, Residency in Psychiatry. instite of Living. Hortford. Commecticut, 1977-1981. Lecturer on
Hurnan Sexuality for University af Connecticut medical students ot the institute of Living: Ginsburg Fellow, Group for the
Advancement oF Psychiatry, 1979-1580 (Member of the Committee on Medical Education and Representative to the Board
of Directors, GAP): post-doctoral research al the University of Oxford. 1988-1989, Advanced course work In Forensic
Psy chin including personal injury and psychological damages. and the detection of miclingaring afftred by American
Academy ol Psychiatry and the Law (AAPL). MMPFI-2 Workshop, St Petersburg, FL 3/1995; Qualified by Pearson
Assessments a Level C (highest fevel} ie purchase their psychological instruments, including the MMPI-2 ond MCMI-II.
Qualified by Psychological Assessment Resources ot Level C (highest level) to purchase their psychological instriments,

including the SIRS. Rorschach Warkshops taining, course in Exner's Comprehensive System campleied 11/05. Qualified to
purchase Ror-scan software for scoring und interpreting Rorschach

Yoentional, Prvute Proactive [Minneapolis, Mumesota, 198)-1995; Attanta 1995-present): Staff Abboti-Noriiwesicrn
Hospital. 1981-1995, previously, Consultant, Minneapolis Heart Insthute Transplantation and Artificial Heart Program:
Consultant. Abbott-Northwestem Hospitol Chrome Pain Program, 198|-1995: Miinnesom Board of Medical Practice
~ Ragmaner. 1993-1995; Psychiotcic consultant ro the leg) community in assessing psychological horm in personul injury and
ather cwil cases, posttraumatic stress disurder, scxual abuse. commument, custody, disubility, work-related injury.
compeleney, and the insunity defense. Psychiatric consultant to industry and medleal/oumal health community regarding
dhagnoslsr treatment options, workplace problems. such as psychiatric disability. possible violence, acute psychiatric
. decompensntivn, stalking, risk assessment (suicide, hemnicile). Teaching (e.g. American Academy of Psychiatry and the

Law. FB.--2002*, Menninger Foundation~2003. A.B.A £.£.0.C Division—2003). Boord Member, Justice Center alr
Atlanta, 1997-2004, Justice Center of Adanta Madiator Tramjng 12/97

Licensure. C7. 1978-1982. MN 1981-Prosen. CA 19B3-] 989. FL 1987-1996, 2002-present. GA 1995-Present.

Snecialry Certification; American Board of Psychiatry and Neurology. Diplomate, 1982; Arerfoon Board of Psyahiatry
and Neurotoyy 1984-Present: Examiner, National Examining Team, Senior Examiner

Memberships: American Psychiatric Assocation. 1978-Present (APA Distinguished Fellow), Group for the Advancement

at Psychiatry (Committees on Work and Organizntions) 1996-Presem Ceorgin Psychintric Physicians Association. 1995-
present

Publications. “Sexual Hamssment - A Case of Workplace Aggression,” Psychiamic dunals 2B:5/May 1998, "The MMPI-2
in Sexuol HarassmenvDiserimination Liligants,” (with James N, Butcher. Ph.D., RL Qwen Nelsen, Ph.D. and Steven Ronse,
Ph.D) J Chrticul Povhotog. Vol. 606, I-15, 204; ~The Social Climate of Violonce and the Hostile Workplace
Humssment ond Bullying.” in Carol Wilkinson, M.D and Corinne Peek-Asu Clinics In Occupational and Enviranmental
Medivine Vol J, 403-820. 2003: “Chapter 3+ Forves Disruppay Rolsticnships at Work,” m Jusiness is Personal, Comune
an Work. Group [or the ‘Advancement of Psychiatry. submitted for publication 2007. “Forensic Psychiatric Evsluatien of

Fmotinnal Distress Clauns. Parts | and 2: posted an hulp quirkyem ploymentquestions.com/qal, May and June 20u9

\ 5. & nce F .—issuus in Response. Quantico, VA Critical
+See Lueene A Rugnla and Arnold Ro lssucs. Eds, Workplace Fislence i
lacudent ‘Response Group, National Center for the Anolysis of Violent Crime. F.B.1 Academy, U.S. Department of Justice.
a4 (brtp:awne ht. gow/publications/violence.pdt)
Barbara Long, M.0 Four year Deposition History:

Debora Hunter vy Walmart—U.S. District Court of the Middle Distict af GA-Clvil Action Fite # 8:04-C¥V-298 {CAR} (10/05)
Cynthia Rice, M.0. ¥ Provident Mutual—Hamilton Coury, TN Chaneary Court # 00-0657 (5/06)
Carolyn Touchel v Hatry Cestle, OOS—14! Judicial Disiiol Court Celcasiau Parish, Slala of Loulsiana— Docket No 2004-1296-E (G/06)

Shelley C. Rountrea v, Robert Games Rountea, Jr. et al Case No, 06-0006 {Arbitration belore the Nall Assn of Securilies Dealers
Arbitration) (10/08)

Aatasha Aikins ana Jenniter Farley vy MeClain Sontes, ine.. af at-U.S. Disuict Court for the Soulhern District MS. Hatilasburg Divisian—
Cly Act No, 2 O5ev2184+-KS-JMR (71106)

Renea Rush. Zimmer U.S., Inc—Norlhem Disinel of Atsbama—CV-06-G-1851-NE ([t0/07}

Melissa Tumer ¥ Allantic Southeast Anes, Inc. ef als United States Dswicl Court, Northern Oistncl of GA- Civ, Ack No. 1 O?-ev-1039-
ALY-CCH (1/08. 2/08) '

Tracey L. Etchey, et af v Or. Jon Green, ef al—Chreuil CL Second Jud. Circuit Cly No. 04-2002 {4/08}

Amy and Robby Gooleby v Synovus Finenclal Corp, Total Systam Servicas, Inc, (T S75), and Richard Marks~Clvil Aotion No: SC 08 CV
922 (1208)

Tracy Barker v. KBR (AAA Casa No 70 480 0021206) {2/08)

Sua Gibbs vs, Georgia Paotfic {Civil Achon No, 08-196) (3/09)
Barbara Long, M.D. Four-Year Trial Fistory

Hugh Devine &, Robert J Shook, Dale J. Shuok, Broce A, Asteson, and Independent Radiological Services, Lid. Consolidated US.
Disirict Court for the District of North Dakota~ Cnses No. A2-02-128 (Lend), Civil No, A3-04-054 (August 2605)

Shelley C. Rountree v. Robert Hames Rountree, dr etal. in Arbitron before the Metional Association of Securities Deules
{November 2006)

Tracey L. Etchey. etal + Dr Jon Green, ct al~-Circuit Cr. Second Jud, Cireuit Civ No, 04-2902 (une 2008)

Tracy East-Porter and Justin P. East, Plaintiffs va. Andrew T. Snigndo and Debro A. Delycechin, Defendants Duval County Cirenil
Coun Case 4 1004-CA-003629 Diviston: CV-C (May 2009)
Case 2-66-ev-00299Bocument 79-2 Fited tr Og/81/os mn TXSD Page 5 ors

Dr. Long will be compensated at the rate of $450.00 for her services.
